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 7                            IN THE UNITED STATES DISTRICT COURT
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9

10         UNITED STATES OF AMERICA,                     ) Case No.: 2-17-CR-00187 GEB
11                        Plaintiff,                     )
12                            vs.                        ) (PROPOSED) ORDER TO CONTINUE
                                                           JUDGMENT AND SENTENCING
13             KARI SCATTAGLIA, et al.,                  )
14                        Defendant.                     )
15
                                        FINDINGS AND ORDER
16
            The Court hereby continues the judgment and sentencing hearing to July 26, 2019 at 9:00
17
     am. All dates previously set for the preparation of the Presentence Investigation Report and for
18
     the filing of documents with the Court are reset consistent with the judgement and sentencing
19
     date of July 26, 2019.
20
            Defendant Kari Scattaglia is ordered to appear on July 26, 2019.
21
            IT IS SO FOUND AND ORDERED.
22
     Dated: May 8, 2019
23

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     (PROPOSED) ORDER TO CONTINUE JUDGMENT AND SENTENCING
